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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

  PAUL MARQUEZ, and ABRON                                §
  JOHNSON, individually and on behalf                    §
  of all others similarly situated,                      §
                                                         §
                     Plaintiffs,                         §
  v.                                                     §
                                                         §
                                                         §     CIVIL ACTION NO. _______________
                                                         §
  RENZENBERGER, INC., D/B/A                              §                JURY DEMANDED
  HALLCON                                                §
                                                         §
                     Defendant                           §
                                                         §
                                                         §



                              PLAINTIFFS’ ORIGINAL COMPLAINT


TO THE HONORABLE JUDGE OF SAID COURT:

          Plaintiffs Paul Marquez, and Abron Johnson, individually and on behalf of all others similarly

 situated, by and through their counsel, bring this Complaint against Renzenberger, Inc., d/b/a Hallcon

 (“Hallcon”), and hereby state and allege as follows:

                                            INTRODUCTION

       1. Hallcon failed to pay overtime as required by the Fair Labor Standards Act (“FLSA”).

       2. Plaintiffs and all other similarly situated employees are non-exempt hourly employees who worked

          for Hallcon and received a shift differential in any workweek in which overtime was worked within

          the preceding statutory period.

       3. Plaintiffs worked at Hallcon’s location in Houston, Texas as non-exempt hourly employees who

          received shift differentials when working certain hours.

       4. Pursuant to Hallcon’s company-wide policies, practices, and/or procedures, Defendant failed to




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         pay Plaintiffs and other similarly situated non-exempt hourly employees the proper amount of

         overtime compensation due and owing pursuant to the FLSA.

     5. Defendant’s systematic violations of the FLSA were willful in that Defendant either knew that its

         policies, practices, and/or procedures violated the FLSA or acted with reckless disregard as to

         whether or not its policies complied with the law.

     6. Plaintiffs, individually, and on behalf of all other similarly situated employees, bring this lawsuit as

         a collective action under the FLSA, 29 U.S.C. § 201 et seq., to recover unpaid overtime wages owed

         to Plaintiffs and all other similarly situated workers employed by Defendants.

                                      JURISDICTION AND VENUE

     7. The FLSA authorizes court actions by private parties to recover damages for violation of the

         FLSA’s wage and hour provisions. Jurisdiction over the FLSA claims of Plaintiffs and others

         similarly situated is based on 29 U.S.C. § 216(b) and 28 U.S.C. § 1331.

     8. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b), because a substantial part of the

         events or omissions giving rise to the claims set forth herein occurred in this judicial

         district.

                                                  PARTIES

     9. Plaintiff Marquez is a resident of the State of Texas. He was employed by Hallcon for approximately

         two and a half years. Plaintiff Marquez was at all times a non-exempt, hourly employee at Defendant’s

         place of business located in Houston, Texas.

     10. Plaintiff Johnson is a resident of the State of Texas. He is a current employee of Hallcon and has

         worked for Hallcon for approximately one year. Plaintiff Johnson is a non-exempt, hourly employee

         at Defendant’s place of business located in Houston, Texas.

     11. Defendant Renzenberger, Inc., d/b/a Hallcon is a Foreign For-Profit Corporation engaged in

         commerce and subject to the FLSA. Defendant may be served with process by serving its

         registered agent, CT Corporation System, located at 1999 Bryan Street, Suite 900, Dallas, Texas




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         75201

     12. At all relevant times herein, Defendant Hallcon was an enterprise engaged in commerce or in the

         production of goods for commerce and has enjoyed gross receipts in excess of

         $500,000 during each of the years within the statutory period.

     13. Defendant was at all times pertinent to the allegations in this complaint, an “employer” within the
         meaning of 29 U.S.C. § 203(d) of Plaintiffs and similarly situated individuals.

                                         GENERAL ALLEGATIONS

     14. Plaintiffs re-allege the allegations set forth above.

     15. Plaintiffs and all similarly situated employees are non-exempt, hourly employees who work or

         worked for Defendant at any of their locations nationwide and who received a shift differential in

         any workweek in which overtime hours were also worked during the applicable

         statutory period.

                                   MISCALCULATION OF OVERTIME

     16. Plaintiffs re-allege the allegations set forth above.

     17. Pursuant to state/federal law, Plaintiffs and the putative class members are non-exempt hourly

         employees who must be paid overtime in an amount of one and one-half times their “regular rate”

         of pay for all hours worked in excess of forty hours in a workweek.

     18. Plaintiffs and the putative class members are non-exempt hourly employees who were paid a shift

         differential that was not factored into the calculation of overtime compensation as required by the

         FLSA.

     19. An employee’s “regular rate” is generally determined by “dividing his total remuneration for

         employment (except statutory exclusions) in any workweek by the total number of hours

         actually worked by him in that workweek for which such compensation was paid.” See e.g. 29 C.F.R.

         § 778.109. Pursuant to 29 U.S.C. § 207(e) and 29 C.F.R. 778.207(b), “nightshift differentials” as

         those paid by Defendant to non-exempt hourly employees must be included in the “regular rate”

         for purposes of calculating overtime compensation due and owing.




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     20. Defendant’s policy, practice, and/or procedure is to fail to properly calculate the overtime rate by

         failing to include the shift differential in the regular rate in the calculation of overtime

         compensation.

     21. Plaintiffs and the putative class members regularly worked overtime and received shift differential

         pay during such workweeks and Defendant’s policies, practices, and/or procedures resulted in a

         failure to pay all overtime compensation due and owing.


                                  COLLECTIVE ACTION ALLEGATIONS

     22. Plaintiffs re-allege the allegations set forth above.

     23. Plaintiffs bring the FLSA claim, arising out of Defendant’s unlawful policies, practices, and/or

         procedures regarding the calculation and payment of overtime compensation, as an “opt-in”

         collective action pursuant to 29 U.S.C. § 216(b) on behalf of Plaintiffs and the following class:

                  All employees classified by Defendant as non-exempt hourly employees who received

                 shift differential pay during any workweek in which such individual worked overtime

                 within the preceding three-year period and who worked at any of Defendant’s locations

                 nationwide.


     24. Class members may be informed of the pendency of this action through regular mail, e-mail,

         and/or posting of an approved notice where employees congregate.

     25. Defendant violated the FLSA by failing to pay Plaintiff and the putative class members all overtime

         compensation due and owing for all overtime hours worked in a workweek.

     26. Specifically, as discussed above, Defendant’s policies, practices, and/or procedures were to fail to

         properly calculate the Regular Rate of pay by failing to include shift differential pay within the

         regular rate of pay. As a result, Defendant’s policies, practices, and/or procedures resulted in a

         systematic failure to pay all overtime compensation due and owing in violation of the FLSA.

     27. Defendant’s policies, practices, and/or procedures described above were to unlawfully and

         willfully fail to properly pay its non-exempt employees pursuant to the FLSA.




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                                          DEMAND FOR JURY TRIAL

     28. Plaintiff hereby requests a trial by jury of all issues so triable.


                                                     PRAYER

     29. Plaintiffs and the putative class members respectfully ask for judgment against Defendant and pray

         this Court:

             a. Issue notice to all similarly situated employees of Defendant informing them of their right

                 to file Consents to Join the FLSA portion of this action;

             b. Award Plaintiffs and the putative class members damages for all unpaid overtime

                 compensation due under 29 U.S.C. § 216(b);

             c. Award Plaintiffs and the putative class members liquidated damages under 29 U.S.C. §

                 216(b);

             d. Award Plaintiffs and the putative class members pre-judgment and post-judgment interest

                 as provided by law;

             e. Award Plaintiffs and the putative class members attorneys’ fees and costs under 29

                 U.S.C. § 216(b); and
             f. Award Plaintiffs and the putative class members such other relief as the Court deems fair

                 and equitable.



                                                            Respectfully submitted,


                                                      MISHOE MILLER LAW, PLLC

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